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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:18-cv-02251-MEH
THE HILLS AT OAK RUN HOMEOWNER
ASSOCIATION,

Plaintiff,
v.
AMGUARD INSURANCE COMPANY,
Defendant.
______________________________________________________________________________

               JOINT NOTICE OF DISMISSAL WITH PREJUDICE
_____________________________________________________________________________

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, The Hills at Oak Run

Homeowner Association, and Defendant, AmGuard Insurance Company stipulate to the dismissal

of this action with prejudice, each party to bear its own attorney fees, expert fees, related expenses,

and costs.

        Respectfully submitted this 10th day of March 2022.

 s/ Matthew S. Ponzi                                    s/ Jonathan E. Bukowski
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